[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION RE: MOTION TO DISMISS (#104)
The defendant's motion to dismiss (#104)  is denied without prejudice. The motion raises  issues of fact and, therefore, requires a hearing. "When issues of fact are necessary to the determination of a court's jurisdiction, due process requires that a trial-like hearing be held . . . ." Standard Tallow Corp.v. Jowdy, 190 Conn. 48, 56, 459 A.2d 503 (1983). Accordingly, upon motion, this matter should be scheduled for an evidentiary hearing to determine the issue of personal jurisdiction.
JOHN P. RYAN, JUDGE